     Case 5:22-cv-00102-FLA-SP Document 1 Filed 01/18/22 Page 1 of 3 Page ID #:1



 1   Nick A. Ortiz (Cal. Bar No. 217489)
 2   nick@ortizlawfirm.com
     Ortiz Law Firm
 3
     316 S Baylen St, Ste 590
 4   Pensacola, FL 32502
     (850) 308-7833 (T)
 5
     (850) 208-3613 (F)
 6   Attorney for Plaintiff
 7
                          UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9                              EASTERN DISTRICT
10
     ARA SHIRVANIAN,                               Case No.:
11
                   Plaintiff,
12
     v.                                                        COMPLAINT
13

14   LIFE INSURANCE COMPANY OF
     NORTH AMERICA,
15

16                 Defendant.
17
           COMES NOW the Plaintiff, ARA SHIRVANIAN, by and through the
18
     undersigned attorneys, and files this Complaint stating causes of action against
19
     Defendant, LIFE INSURANCE COMPANY OF NORTH AMERICA, and alleges
20
     as follows:
21
           1.      This is an action for recovery of benefits under employee welfare
22
     benefit plans brought pursuant to 29 U.S.C. §1132(a)(1)(b)(ERISA).
23
           2.      Plaintiff, ARA SHIRVANIAN, is an adult resident citizen of San
24   Bernardino County, California.
25         3.      Defendant, LIFE INSURANCE COMPANY OF NORTH AMERICA
26   (hereinafter “LINA”), is a foreign corporation authorized to engage and engaging
27   in business within the State of California.
28


     COMPLAINT                                 1
     Case 5:22-cv-00102-FLA-SP Document 1 Filed 01/18/22 Page 2 of 3 Page ID #:2



 1
           4.      This Court maintains subject matter jurisdiction over this action
 2
     pursuant to 29 U.S.C. § 1132(e) and 28 U.S.C. § 1331.
 3

 4
                          COUNT I – BREACH OF CONTRACT
 5
           5.      Plaintiff and/or his employer, Target Corporation, purchased through
 6
     his employer a contract of salary continuance insurance including long term
 7
     disability (LTD) benefits (hereinafter “the LTD Plan”), effective April 1, 2019.
 8
           6.      At all times material to this Complaint, the LTD Plan was in full force
 9
     and effect and Plaintiff was an LTD Plan participant.
10
           7.      Defendant, LINA, is in possession of all master LTD Plan documents.
11
           8.      Defendant is a third party plan administrator or claims fiduciary given
12   discretion to interpret LTD Plan provisions and is an LTD Plan fiduciary, or
13   alternatively, is an LTD plan fiduciary without discretion to interpret LTD Plan
14   provisions.
15         9.      On or about June 9, 2020, Plaintiff became totally disabled from his
16   past employment as defined by the LTD Plan, due to exertional and non-exertional
17   impairments.
18         10.     Plaintiff made a timely application for disability benefits under the
19   LTD Plan.
20         11.     On or about February 2, 2021, Plaintiff’s application for benefits was
21   denied by Defendant or its agents.
22         12.     Plaintiff appealed said denial of benefits and Defendant upheld its
23   previous decision to deny the claim for benefits on June 25, 2021.
24         13.     Plaintiff continues to remain totally disabled from employment, as
25   defined by the Plan, due exertional and non-exertional impairments.
26         14.     Plaintiff has exhausted all administrative remedies afforded by the
27   Plan and has otherwise complied with all conditions precedent to this action.
28         15.     Each of the Defendant’s denials of Plaintiff’s claims for LTD benefits

     COMPLAINT                                 2
     Case 5:22-cv-00102-FLA-SP Document 1 Filed 01/18/22 Page 3 of 3 Page ID #:3



 1
     constituted abuse of Defendant’s discretion under the Plan and derogated
 2
     Plaintiff’s right to disability benefits under the terms of the Plan.
 3

 4
           WHEREFORE, Plaintiff prays for a judgment against the Defendant for all
 5
     LTD Plan benefits owing at the time of said judgment, pre-judgment interest,
 6
     attorney’s fees, costs of this action, and all other relief deemed just and proper by
 7
     the Court.
 8

 9
           Dated: 1/18/2022
10

11                                            /s/ Nick A. Ortiz
12
                                              Nick A. Ortiz, Esq.
                                              Attorney for Plaintiff
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     COMPLAINT                                  3
